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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

VOTE.ORG, et al.,

     Plaintiffs,

     v.                                 Civil Action No.: 1:22-cv-01734-JPB
GEORGIA STATE ELECTION
BOARD, et al.,
     Defendants,

GEORGIA REPUBLICAN PARTY,
INC., et al.,

     Intervenor-Defendants.




              PLAINTIFFS’ REPLY IN SUPPORT OF THEIR
                MOTION FOR SUMMARY JUDGMENT
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                                 INTRODUCTION

      State Defendants and Intervenors (“Defendants”) refuse to engage with the

clear language of the materiality provision, instead offering a series of conflicting

narratives to attempt to justify the pen and ink rule. Their defense disregards binding

precedent and the factual record. This Court’s prior decision that the materiality

provision applies to absentee ballot applications holds no less true today. And the

record establishes that the answer to the key question—whether a pen and ink

signature is material in determining a Georgia voter’s qualifications—is decidedly

no. What’s more, though Defendants attempt to substitute undisputed testimony with

facts more to their liking, the record shows that Plaintiffs have standing to make their

challenge. Plaintiffs’ motion for summary judgment should be granted.

                                    ARGUMENT

I.    Plaintiffs have standing to challenge the pen and ink rule.

      A.     CWA and the Alliance have associational standing.

      CWA and the Alliance have established that they have associational standing

based on their members’ injuries. See ECF No. 159-1 at 4–8; ECF No. 196-3 at 17–

19. In arguing otherwise, Intervenors grossly mischaracterize the record as to the

organizations’ three identified members, each of whom is plainly injured by the pen

and ink rule: Mr. Isom does not feel safe voting in person due to his cancer, must

exert time or money to obtain a printed absentee ballot application because he does


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not have a working printer, and does not trust the postal service to timely deliver his

application. Statement of Undisputed Material Facts ¶¶ 78–81, ECF No. 159-3

(“SUMF”); Isom Dep. at 22:18–23, 23:1–9, 24:1–7, ECF No. 144. Intervenors’

attempt to discredit Mr. Isom’s lack of trust in the postal service as “idiosyncratic”

rests on a false assumption that other parts of the absentee voting process will require

him to use the mail, ECF No. 186 at 5; for example, they ignore that Mr. Isom could

submit his application by email, SUMF ¶ 11; O.C.G.A. § 21-2-381(a)(1)(A), and

that he intends to use a drop box—not the mail—to return his ballot, Isom Dep. at

24:8–11.1 For the same reasons, Intervenors are wrong to discount Mr. Andrews’s

concerns about the reliability of the postal service. ECF No. 186 at 6–7; see also

infra 19–20 (demonstrating mail-related delays in absentee voting process). As for

Ms. Simmons, Intervenors point out that she previously filled out her absentee ballot

applications by hand, ECF No. 186 at 6, but disregard that she was able to pick up

printed applications from the voter registration office “en route to [her] going to



1
  Rather than submitting a statement of additional material facts, Intervenors
“presented [their] own narrative of [facts] in the body of [their] brief,” Roberts v.
Kahl, No. 1:19-CV-1846-TWT, 2020 WL 4577714, at *3 (N.D. Ga. June 12, 2020),
aff’d, 844 F. App’x 160 (11th Cir. 2021), often without any basis in the record. See,
e.g., ECF No. 186 at 5 (claiming Mr. Isom “would necessarily have to trust the mail
to deliver both his application and ballot” without citation to the record). These
additional or conflicting facts should not be considered. Kahl, 2020 WL 4577714, at
*3 (citing N.D. Ga. L.R. 56.1(B)(1); 56.1(B)(2)(a)(2)). If the Court does consider
them, it should permit Plaintiffs to object under Local Rule 56.1(B)(3)(b)&(c). See,
e.g., Isom Dep. at 24:8–11 (testifying he plans to return his ballot via drop box).
                                           2
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work in the past years.” SUMF ¶ 77; Simmons Dep. at 20:5–14, ECF No. 148. She

is now retired and would have to make an independent trip. Id. at 8:16–19.

      It is undisputed that Mr. Isom, Ms. Simmons, and Mr. Andrews must expend

time and resources to obtain a printed absentee ballot application to comply with the

pen and ink rule. State Defendants’ assertion that none of these voters “ha[s] the

ability to digitally sign or add an imaged signature to an application” ignores the

record, including the testimony they cite. See ECF No. 190 at 4 (citing Andrews

Dep. at 35:10–13, ECF No. 138 (testifying only that he has not previously completed

“anything related to voting” “with an electronic signature”)); see also Response to

Defendants’ Statement of Undisputed Material Facts ¶¶ 52, 101, ECF No. 191-1

(“PRDSMF”); Andrews Dep. at 47:1–12 (testifying that his smartphone “serves all

[his] needs”); id. at 43:16–44:7 (testifying about using electronic signatures).

      As for State Defendants’ insistence that CWA and the Alliance must show

that their members “have or will be denied the right to vote,” ECF No. 190 at 8, the

Eleventh Circuit has rejected that theory. See Charles H. Wesley Educ. Found., Inc.

v. Cox, 408 F.3d 1349, 1352 (11th Cir. 2005) (“A plaintiff need not have the

franchise wholly denied to suffer injury.”). It is well established that even a plaintiff

who is able to comply with an unlawful voting rule still has standing to challenge it.

See Common Cause/Ga. v. Billups, 554 F.3d 1340, 1351 (11th Cir. 2009) (holding

plaintiffs have standing to challenge photo identification rule under materiality

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provision and other federal laws “regardless” of whether they are “able” to comply

with the rule); see also id. at 1352 (“The inability of a voter to pay a poll tax, for

example, is not required to challenge a statute that imposes a tax on voting.” (citing

Harper v. Va. State Bd. of Elections, 383 U.S. 663, 668 (1966))).

      B.     Vote.org and Priorities USA have organizational standing.

      Vote.org and Priorities USA, too, have established injuries sufficient for

standing. See ECF No. 159-1 at 8–11; ECF No. 196-3 at 4–12. It is undisputed, for

instance, that Vote.org will launch and scale a print-and-mail program in response

to the pen and ink rule. SUMF ¶¶ 46, 55; Hailey Dep. at 42:10–19, 153:4–10, 165:7–

25, ECF No. 143. That program will require resources, including costs for printing,

postage, tracking, and sending text reminders. See SUMF ¶¶ 47–50; Hailey Dep.

80:1–8, 135:5–136:25. State Defendants’ contrary conclusion that running such a

program requires no additional resources not only contradicts unrebutted testimony,

but also rests on the nonsensical assumption that contracting with a vendor to print

and mail thousands of applications is entirely costless. ECF No. 190 at 5–6. There is

no basis in fact or law to accept this implausible theory. Fla. State Conf. of NAACP

v. Browning, 522 F.3d 1153, 1165 (11th Cir. 2008) (“[T]he fact that the added cost

has not been estimated and may be slight does not affect standing, which requires

only a minimal showing of injury.” (quoting Crawford v. Marion Cnty. Election Bd.,

472 F.3d 949, 951 (7th Cir. 2007))). And contrary to State Defendants’ claim that


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“Vote.org is unable to identify any project it diverted resources from to cover this

cost,” ECF No. 190 at 6, the record shows that the print-and-mail program will force

Vote.org to divert resources from mission-critical projects like college campus

programs; influencer programs; and radio, text, and email campaigns, SUMF ¶¶ 50–

51; Hailey Dep. at 135:5–136:25, 148:7–12.

      Similarly, Priorities USA had to alter and lengthen a digital ad program

because of the pen and ink rule, to provide “extra runway” for voters to apply for

absentee ballots or make other plans to vote in the December 2022 runoff. SUMF ¶

62; Grimsley Dep. at 35:8–36:13, 44:19–25, 45:19–46:10, ECF No. 142. This

testimony refutes Intervenors’ argument that “it is unlikely and unproven that PUSA

will need to divert additional resources to address the Rule in the future.” ECF No.

186 at 9. In fact, Priorities will be forced to divert money and time to customize

future digital ads designed to ensure Georgia voters are equipped to navigate hurdles

the pen and ink rule imposes. SUMF ¶ 66; Grimsley Dep. at 60:5–61:8, 94:16–

95:20.2 State Defendants urge the Court to ignore this evidence because it was not

accompanied by documents, but they cite no authority for their proposed evidentiary



2
  State Defendants, too, mischaracterize the record when they contend that Priorities
“could not even confirm that the rule was specifically discussed” for the ad. See ECF
No. 190 at 7 (citing Grimsley Dep. at 74:3-75:2). In the very testimony they cite,
Priorities’ COO testified that she did not have documentation or recollection of “a
specific discussion” but nonetheless confirmed that Priorities considered the pen and
ink rule to determine the length of its ad buy. Grimsley Dep. at 74:3-75:2.
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standard, which is entirely foreign to the standing analysis. Indeed, courts routinely

rely on deposition testimony to establish standing. See, e.g., Arcia v. Fla. Sec’y of

State, 772 F.3d 1335, 1341–42 (11th Cir. 2014) (finding deposition testimony

sufficient to establish organizational standing based on diverted resources). Nor is

there any requirement that an organization’s diversion of resources directly reference

the law that Plaintiffs challenge. Contra ECF No. 190 at 7.

      Intervenors’ argument that both organizations’ injuries are “self-inflicted”

similarly misses the mark. ECF No. 186 at 8–12. Unlike in Clapper and Wasser,

Plaintiffs here undertook the print-and-mail program and the longer advertising

campaign in direct response to the pen and ink rule’s ongoing impact on their

missions. Contra Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013) (holding

that plaintiffs cannot “manufacture standing” by incurring costs in response to “fears

of hypothetical future harm that is not certainly impending”); Wasser v. All Mkt.,

Inc., 329 F.R.D. 464, 471 (S.D. Fla. 2018) (holding plaintiffs cannot “manufacture

standing” by choosing to injure themselves because of past deception that is no

longer occurring). And Intervenors’ suggestion that Vote.org’s print-and-mail

program is duplicative of state programs is purely conjecture. For this proposition,

they cite testimony from only one county, which testified that it mails applications

upon request but said nothing about the pre-paid postage or application tracking that

Vote.org’s program provides. ECF No. 186 at 9–10; SUMF ¶ 48; Hailey Dep. at

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43:5–22. In any event, Vote.org’s diversion of resources is a concrete injury

regardless of any other organization’s efforts. See Browning, 522 F.3d at 1166

(rejecting argument that “voluntary” diversions of resources are not injuries); see

also Equal Rts. Ctr. v. Post Props., Inc., 633 F.3d 1136, 1140 (D.C. Cir. 2011) (the

“standing analysis [does not] depend on the voluntariness or involuntariness of the

plaintiffs’ expenditures”). Both organizations have shown concrete injuries.

      C.     Vote.org and Priorities USA have third-party standing.

      Vote.org and Priorities USA may enforce the rights of individual voters. See

ECF No. 159-1 at 11–13; ECF No. 196-3 at 19–24. State Defendants erroneously

rely on Mata Chorwadi, Inc. v. City of Boynton Beach, 66 F.4th 1259, 1266 (11th

Cir. 2023), to argue that Plaintiffs’ injury lacks a “causal connection” to any injury

to voters, ECF No. 190 at 7–8, but Mata Chorwadi is a First Amendment case in

which no party briefed third-party standing. 66 F.4th at 1265. And contrary to State

Defendants’ assertion, the Eleventh Circuit never held that “a litigant asserting third-

party standing must show that ‘the statutory provision at issue imposed a duty on the

litigant and the litigant’s compliance with that duty indirectly violated third parties’

rights.’” ECF No. 190 at 7. Rather, it described such conditions as sufficient for third-

party standing and rested its conclusion that the plaintiff lacked third-party standing

on a “misalignment” between the third parties’ interests and its own. Mata

Chorwadi, 66 F.4th at 1266.


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      There is no such misalignment here. Both Vote.org’s and Priorities USA’s

missions are to ensure their users and constituents can exercise their right to vote,

SUMF ¶¶ 41, 58; Hailey Dep. at 35:14–18; Grimsley Dep. at 35:1–14; 39:1–5;

50:21–51:4, 101:21–24, and they act on such voters’ behalf in the same manner

courts have held sufficient to satisfy the “close relationship” element of the third-

party standing test.3 And State Defendants’ claim that neither organization could

identify anyone burdened by the pen and ink rule simply ignores the record. See,

e.g., PRDSMF ¶¶ 145, 188, 189; Grimsley Dep. at 69:21–70:3 (referring to impacted

voters referenced in Dr. Mayer’s report).

      Vote.org and Priorities USA have also shown that their users and constituents

are “hindered” from protecting their own interests. This is not because of the burdens

that the pen and ink rule itself imposes, contra ECF No. 186 at 11–12, but because

of barriers to individual voters litigating those burdens. For example, many voters

will not become aware of the pen and ink rule until it is too late to obtain relief. Cf.

Singleton v. Wulff, 428 U.S. 106, 117 (1976) (holding plaintiffs had third-party

standing where third parties’ claims faced “obstacle” of “imminent mootness”);

Craig, 429 U.S. at 192 (similar). Relatedly, the individual burdens of complying



3
 See, e.g., Craig v. Boren, 429 U.S 190, 195 (1976); Vote.org v. Callanen, 89 F.4th
459, 468, 472 (5th Cir. 2023); Ezell v. City of Chicago, 651 F.3d 684, 696 (7th Cir.
2011); Young Apartments, Inc. v. Town of Jupiter, 529 F.3d 1027, 1042 (11th Cir.
2008).
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with the pen and ink rule—though sufficient for standing—pale in comparison to the

burdens of litigation, leaving voters with little incentive to pursue legal action. Cf.

Powers v. Ohio, 499 U.S. 400, 415 (1991) (holding plaintiff had third-party standing

where third parties “possess[] little incentive . . . to vindicate [their] own rights” due

to “small financial stake involved and the economic burdens of litigation”).

      Finally, State Defendants raise a cursory “statutory standing” argument, ECF

No. 190 at 9, but rely solely on a case that did not consider statutory standing at all.

Aaron Priv. Clinic Mgmt. LLC v. Berry, 912 F.3d 1330, 1339–40 (11th Cir. 2019).

This Court and others have found organizations may enforce the materiality

provision, and State Defendants offer no persuasive reason to depart from those

rulings. E.g., Callanen, 89 F.4th at 471–73; In re Georgia Senate Bill 202 (“S.B.

202”), No. 1:21-CV-01259-JPB, 2023 WL 5334582, at *3 (N.D. Ga. Aug. 18, 2023).

      D.     Plaintiffs have standing to seek relief against State Defendants.

      State Defendants’ traceability and redressability arguments are misplaced.

First, State Defendants misunderstand the nature and scope of Plaintiffs’ requested

injunctive relief. See ECF No. 190 at 9–10. Far from seeking that State Defendants

issue regulations contrary to state law, Plaintiffs ask only that they be enjoined “from

implementing, enforcing, or giving any effect to the pen and ink rule and any other

provisions requiring a voter to sign an absentee ballot application with pen and ink.”

ECF No. 96 at 18. Although counties process absentee ballot applications, State


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Defendants play an essential role in enforcing the pen and ink rule through their

authority to adopt regulations enforcing it and their power to compel county

compliance. See ECF No. 196-3 at 13–15. “[T]he presence of multiple actors in a

chain of events that lead[s] to the plaintiff’s injury does not mean that traceability is

lacking with respect to the conduct of a particular defendant.” Garcia-Bengochea v.

Carnival Corp., 57 F.4th 916, 927 (11th Cir. 2023). And an injunction preventing

State Defendants from implementing the rule through any of the coercive means at

their disposal would provide at least some redress for Plaintiffs’ injuries. See Wilding

v. DNC Servs. Corp., 941 F.3d 1116, 1127 (11th Cir. 2019) (holding injunction

providing only “partial” relief “would sufficiently redress . . . alleged economic

harm for purposes of standing”).

      E.     Plaintiffs have standing as to Fulton and DeKalb Defendants.

      Fulton and DeKalb Defendants do not dispute that they enforce the pen and

ink rule by rejecting non-compliant absentee ballot applications. See ECF No. 178

at 2; ECF No. 182 at 4. Nor do they contest that a court order enjoining these actions

would redress Plaintiffs’ injuries. Instead, they insist that they are simply following

the law. See id. But the traceability and redressability analyses focus not on who

passed the law, but rather on who implements and enforces it. See, e.g., Finn v. Cobb

Cnty. Bd. of Elections & Registration, No. 1:22-CV-02300-ELR, 2023 WL 6370625,

at *6 (N.D. Ga. July 18, 2023), appeal dismissed, No. 23-13439, 2024 WL 470345


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(11th Cir. Jan. 19, 2024). The cases Fulton Defendants cite do not suggest otherwise.

See Curling v. Raffensperger, 1:17-CV-2989-AT, 2023 WL 7463462, *40 (N.D. Ga.

Nov. 10, 2023) (finding no traceability where county defendants did not enforce or

implement the challenged uniform statewide voting system determined solely by

Secretary of State); see also Bethesda Lutheran Homes & Servs., Inc. v. Leean, 154

F.3d 716 (7th Cir. 1998) (not considering traceability); Doby v. DeCrescenzo, 171

F.3d 858, 868 (3d Cir. 1999) (same).

II.   Sovereign immunity does not bar Plaintiffs’ claims against the State
      Election Board.

      This Court should reject State Defendants’ belated argument that sovereign

immunity bars Plaintiffs’ claims against the State Election Board. ECF No. 190 at

11–12. Congress unequivocally expressed its intent to abrogate sovereign immunity

when it enabled private individuals to sue state actors for violating the materiality

provision. See 52 U.S.C. § 10101(a)(2)(B), (d). And Defendants do not argue that

any waiver of sovereign immunity would exceed Congress’s constitutional power. 4




4
  Even if Defendants had raised this argument, it would fail. In enacting the
materiality provision, Congress sought to prohibit election officials “from using
immaterial omissions, which were historically used to prevent racial minorities from
voting, from blocking any individual’s ability to vote”; “[t]hat prohibition is a
congruent and proportional exercise of congressional power” under the Fourteenth
and Fifteenth Amendments. Callanen, 89 F.4th at 486–87. And as the Eleventh
Circuit noted, both the Fourteenth and Fifteenth Amendments “permit[] Congress to
abrogate state sovereign immunity.” Ala. State Conf. of NAACP, 949 F.3d at 654.
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      State Defendants cite two unpublished and non-binding opinions to contend

that sovereign immunity has not been abrogated for suits invoking the materiality

provision. The first, Texas Democratic Party v. Hughs, 860 F. App’x 874, 877 n.3

(5th Cir. 2021), states in a single sentence in a footnote that Congress did not

abrogate sovereign immunity through the Civil Rights Act. That scant reasoning is

belied by the plain text of the statute. “It is implausible that Congress designed a

statute that primarily prohibits certain state conduct, made that statute enforceable

by private parties, but did not intend for private parties to be able to sue States.” Ala.

State Conf. of NAACP v. Alabama, 949 F.3d 647, 652 (11th Cir. 2020), vacated as

moot, sub nom. Alabama v. Ala. State Conf. of NAACP, 141 S. Ct. 2618 (2021).

      In Liebert v. Wisconsin Elections Commission, No. 23-CV-672-JDP, 2024

WL 181494 (W.D. Wis. Jan. 17, 2024), the district court did not make any findings

about Congress’s abrogation of sovereign immunity; it dismissed the state election

board because Plaintiffs did not “identify any reason why the commission [could]

be sued.” Id. at *3. But the reason here is clear: the materiality provision expresses

Congress’s intent to allow private parties to sue state entities. Congress need not use

“magic[ ]words” to abrogate sovereign immunity or “state its intent in any particular

way,” Lac du Flambeau Band of Lake Superior Chippewa Indians v. Coughlin, 599

U.S. 382, 388 (2023) (quotation omitted). It may express its intent by “impos[ing]

direct liability on States” for violating federal rights “and explicitly provid[ing]

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remedies to private parties to address violations under the statute,” Ala. State Conf.

of NAACP, 949 F.3d at 652. That is precisely what the materiality provision does.

52 U.S.C. § 10101(d) (conferring jurisdiction on district courts regardless of

“whether the party aggrieved” has exhausted any administrative remedies).

III.   Plaintiffs are entitled to summary judgment on the merits.

       A.    The materiality provision applies to the pen and ink rule.

       This Court has held that under the Civil Rights Act’s “plain language,” an

“absentee ballot application” is a “record or paper” subject to the materiality

provision. ECF No. 59 at 17; see also S.B. 202, 2023 WL 5334582, at *9 (similar).

That conclusion is correct, aligns with other decisions, and should not be disturbed.5

       Intervenors urge the Court to reject its prior conclusions wholesale because of

a recent Third Circuit opinion where a divided panel held that the materiality

provision applies only during “the voter qualification [or registration] process”—a

view no other circuit has adopted. Pa. State Conf. of NAACP Branches v. Sec’y

Commonwealth of Pa., 97 F.4th 120, 133 (3d Cir. 2024) (“Pa. NAACP”). But the


5
  The vast majority of courts applying the law have concluded the materiality
provision extends to papers and records “requisite to voting” beyond voter
registration papers alone. See, e.g., Migliori v. Cohen, 36 F.4th 153, 162 n.56 (3d
Cir.), vacated as moot sub nom. Ritter v. Migliori, 143 S. Ct. 297 (2022); La Unión
del Pueblo Entero v. Abbott, No. 5:21-cv-844-XR, 2023 WL 8263348, at *18–22
(W.D. Tex. Nov. 29, 2023); League of Women Voters of Ark. v. Thurston, No. 5:20-
CV-05174, 2023 WL 6446015, at *16 (W.D. Ark. Sept. 29, 2023); Martin v.
Crittenden, 347 F. Supp. 3d 1302, 1308–09 (N.D. Ga. 2018); Common Cause v.
Thomsen, 574 F. Supp. 3d 634, 636 (W.D. Wis. 2021).
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majority misreads the plain language of the statute and its analysis offers little

guidance for at least three reasons.

      First, Pa. NAACP involved an error or omission on absentee ballot envelopes.

97 F.4th at 125. Because “[e]veryone agree[d]” that the envelope did not “relate to

applying or registering to vote,” the Third Circuit had to parse whether completing

it is an “act requisite to voting” under the materiality provision. Id. at 131. This

Court’s job is much easier: the plain text of the law applies to paperwork “relating

to any application, registration, or other act requisite to voting.” 52 U.S.C. §

10101(a)(2)(B) (emphasis added). And as this Court has held, “the absentee ballot

application squarely constitutes a ‘record or paper’ relating to an ‘application’ for

voting.’” ECF No. 59 at 17; La Unión del Pueblo Entero v. Abbot (“LUPE”), No.

5:21-CV-0844-XR, 2023 WL 8263348, at *19 (W.D. Tex. Nov. 29, 2023) (same).

      Second, the panel majority made at least two major textual errors. It adopted

a reading that, by the panel’s own admission, renders the phrase “other act requisite

to voting” superfluous. See 97 F.4th at 138. And it disregarded the “expansive[]”

definition of the term “vote” in the Civil Rights Act. S.B. 202, 2023 WL 5334582,

at *9. Congress defined “vote” as “all action necessary to make a vote effective

including . . . casting a ballot, and having such ballot counted.” 52 U.S.C. §

10101(a)(3)(A), (e). Successfully completing an absentee ballot application plainly

is an act “requisite to voting.” “Congress explicitly defined the operative term”—

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here, “vote”—in the materiality provision, Babbitt v. Sweet Home Chapter of Cmtys.

for a Great Or., 515 U.S. 687, 697 n.10 (1995), regardless of any invented meaning

the panel majority in Pa. NAACP felt could distinguish the “voter qualification

process” from the “vote-casting stage,” Pa. NAACP, 97 F.4th at 133; See id. at 147

(Schwartz, J., dissenting) (“Had Congress wished to limit [the materiality provision]

to registration-related conduct alone, it could have . . . defined ‘vote’ more narrowly,

but it did not.”).

       Notwithstanding these errors, the panel’s holding does grievous injury to the

Civil Rights Act. Rather than preventing states from denying the right to vote based

on paperwork errors that have nothing to do with a voter’s qualifications, the panel’s

reading goes out of its way to condone disenfranchisement based on such errors,

provided the state is clever enough to impose such requirements during what the

majority deems “the vote-casting stage,” 97 F.4th at 133—a judicially invented term

alien to the Civil Rights Act. But in the same way that states cannot “circumvent the

Materiality Provision by defining all manner of requirements, no matter how trivial,

as being a qualification to vote,” Callanen, 89 F.4th at 487, they also cannot erect

immaterial prerequisites to voting by declaring them unrelated to a voter’s

qualifications. Congress adopted broad language in the Civil Rights Act specifically

to avoid such foreseeable trickery. Schwier v. Cox, 340 F.3d 1284, 1294 (11th Cir.

2003); see also Pa. NAACP, 97 F. 4th at 150 (Schwartz, J., dissenting) (“Congress’s

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concerns about voter discrimination did not vanish after registration.”).6

      While Defendants embrace Pa. NAACP’s novel distinction between “vote

qualification” and “vote casting” rules, 97 F.4th at 133, they cannot decide which

category absentee ballot applications fall into. When seeking to escape the

materiality provision’s requirements, they assert that such applications are “voting

mechanics” because they are not used to determine whether an individual is qualified

to vote. See ECF No. 156-1 at 30, ECF No. 190 at 12–14 & n.4; ECF No. 186 at 20–

21. But they simultaneously argue that the pen and ink rule—which applies only to

absentee ballot applications—survives Plaintiffs’ challenge because it is material in

confirming voter qualifications at the absentee ballot application stage. See ECF No.

156-1 at 34–35; ECF No. 190 at 21; ECF No. 186 at 21–25. These arguments are

irreconcilable; such applications either are used to check voters’ qualifications, or

they are not. So even if the Court adopted the Third Circuit’s distinction,

Defendants’ own position precludes any finding that absentee ballot applications are

exempt from the materiality provision’s requirements.



6
  In Schwier, the Eleventh Circuit explained that the materiality provision was
“intended to address the practice of requiring unnecessary information for voter
registration with the intent that such requirements would increase the number of
errors or omissions on the application forms, thus providing an excuse to disqualify
potential voters.” 340 F.3d at 1294. Intervenors wrongly assert the court’s use of
“voter registration” limits the statute. ECF No. 186 at 17. But the court was plainly
operating within the context of the facts of that case, which addressed the materiality
of including social security numbers on voter registration forms.
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      Regardless, the relevant question is not whether absentee ballot applications

are part of the “voter qualification process,” but whether the pen and ink rule is

material “in determining whether [an] individual is qualified” to vote. 52 U.S.C. §

10101(a)(2)(B) (emphasis added); see infra 21–22. And the undisputed evidence

confirms that election officials do not use handwritten signatures in any way. SUMF

¶¶ 35–36; Brittian Dep. 40:25–41:5, ECF No. 175; Williams Dep. 73:20–75:19, ECF

No. 154; Smith Dep. 40:19–41:1, 41:14–42:5, 70:16–71:9, ECF No. 149.

      B.     Rejecting an absentee ballot application for noncompliance with
             the pen and ink rule denies the statutory right to vote.

      This Court already explained that it “cannot ignore that Congress expansively

defined ‘voting,’” in the materiality provision, S.B. 202, 2023 WL 5334582, at *9;

see also 52 U.S.C. § 10101(a)(3), (e), but Defendants do just that—they do not cite

the governing definition of the right to “vote” even once in their responses. The

statutory text could not be more clear: the term “vote” incorporates any “action

required by State law prerequisite to voting” and “having [a] ballot counted.” 52

U.S.C. § 10101(e) (emphasis added).

      Intervenors have no answer to this definition, so they simply ignore it,7

pointing instead to the Supreme Court’s discussion of a vote denial claim under


7
  Intervenors also ignore that the constitutional right to vote includes “the right to
have one’s vote counted.” Reynolds v. Sims, 377 U.S. 533, 554 (1964); see also
United States v. Classic, 313 U.S. 299, 318 (1941) (explaining that right to vote
includes both “right to cast a ballot” and to “have it counted”).
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Section 2 of the Voting Rights Act. See ECF No. 186 at 12–13 (quoting Brnovich v.

Democratic Nat’l Comm., 141 S. Ct. 2321, 2338 (2021)); see also 52 U.S.C.

§ 10301(b). But that separate statutory scheme has no bearing on the claims here.

Subsection (a) of the Civil Rights Act makes clear that the “term ‘vote’ shall have

the same meaning as in subsection (e)” for “purposes of this subsection.” 52 U.S.C.

§ 10101(a)(3)(A). Subsection (e) emphasizes the same point. Id. § 10101(e)

(definition of “vote” applies “[w]hen used in the subsection”). Intervenors’ effort to

graft a different definition of “vote” into the Civil Rights Act simply highlights their

failure to grapple that law’s actual text.8

      Having ignored the statutory language, Defendants apply their own definition

of “vote” by asserting the pen and ink rule did not prevent anyone from casting a

ballot, but in doing so they obscure evidence of individuals who were in fact unable

to vote in 2022 because of their noncompliance with the pen and ink rule. SUMF

¶¶ 91–101; Stambler Dep. at 20:25–21:17, 21:24, 24:14–17; 25:13–16; 27:10–14,

ECF No. 171; Trapp Dep. at 34:14–35:9, 28:20–29:12, 36:18–37:5, ECF No. 177.



8
  Intervenors appear to cite Schwier for the proposition that a law must “disqualify
potential voters” to violate the materiality provision. See ECF No. 186 at 13 (quoting
340 F.3d at 1294). That decision says no such thing. The quoted language merely
describes, at a high level of generality, the aims of the materiality provision. See 340
F.3d at 1294; see also supra 15–16. In any event, the court in Schwier remanded on
the merits after finding private parties could enforce the materiality provision, and
thus had no occasion to decide what substantive standard governs a claim under the
law. Schwier, 340 F.3d at 1294–97.
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      For one, Defendants wrongly suggest that Sarah Stambler knowingly violated

the pen and ink rule and decided not to return her cure affidavit because it was

inconvenient. ECF No. 190 at 16; ECF No. 186 at 14–15. But Ms. Stambler did not

“know[] a pen and ink signature was required.” ECF No. 190 at 16; ECF No. 186 at

14. She was aware that the instructions did not permit an “electronic signature” but

believed her signature sufficed because it was not typed. Stambler Dep. at 22:7–14.

She received an electronic notice that her application was deficient and was sent a

provisional ballot, which she promptly returned, SUMF ¶ 96; Stambler Dep. at

27:10–14; see also id. at 27:3–9, but the cure affidavit—which the voter must also

submit in order to have their provisional ballot counted—arrived much later, and far

too late to return it before the deadline. SUMF ¶ 96; Stambler Dep. at 25:13–16;

27:10–14. Although Defendants assert the County mailed both the provisional ballot

and cure affidavit two days after Ms. Stambler submitted her initial application, Ms.

Stambler testified that she received the documents on different dates, and the cure

affidavit arrived at her campus apartment “a day or two before election day.” SUMF

¶ 96; Stambler Dep. at 25:13–16; 27:10–14. At that point, it was too late for Ms.

Stambler to return the cure affidavit from Maryland to Georgia in time to have her

provisional ballot counted. SUMF ¶ 96; Stambler Dep. at Tr. 25:13–16. But for the

pen-and-ink rule, Ms. Stambler would have received an ordinary absentee ballot and

her ability to vote would not been contingent on the late-arriving cure affidavit.

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      Defendants similarly attempt to minimize Dr. Trapp’s experience by

suggesting she chose to return her cure affidavit, but not her provisional ballot. In

fact, Dr. Trapp mailed both documents back after receiving them, but her ballot did

not arrive before the deadline. SUMF ¶ 101; Trapp Dep. at 28:20–29:12, 36:18–

37:5. Intervenors do not dispute that Dr. Trapp attempted to cure her pen and ink

rejection, but they blame her for missing the ballot receipt deadline, ECF No. 186 at

15, even as they acknowledge that she received her cure materials just five days

before the election and mailed them back once received. SUMF ¶ 101; Trapp Dep.

at 36:18–37:5. Despite Dr. Trapp’s diligence, her vote was not counted, SUMF ¶

101; Trapp Dep. at 28:20–29:12, because of the pen and ink rule.

      In any event, Defendants’ nitpicking about what these voters should have

done once their applications were rejected is irrelevant. “The existence of additional,

more onerous procedures that voters could use to try to overcome the rejection does

not negate the original denial.” LUPE, 2023 WL 8263348, at *22–*23 & n.30.9 And

here, the opportunity to cure a rejected application does not “rehabilitate[] [a] . . .



9
  It is also worth noting that Georgia law does not give voters any right, or guarantee
they will have an opportunity, to cure pen and ink rejections. Although the Secretary
verbally instructed counties to send provisional ballots to voters with pen and ink
rejections in 2022, SUMF ¶ 22; Brittian Dep. at 63:20–66:22, 68:7–19; Williams
Dep. at 112:13–113:8, such opportunities are not available to all voters in each
election. O.C.G.A. § 21-2-386 provides a process for curing missing signatures on
absentee ballots, but there is no binding requirement that counties offer voters the
opportunity to cure signature errors on their ballot applications.
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violation of the Materiality Provision.” ECF No. 59 at 16; see also Callanen, 89

F.4th at 487 (expressing doubt that option to cure noncompliance with “immaterial

requirement . . . even if it is not itself a final denial,” can resolve materiality provision

violation and setting aside motions-panel’s holding to the same effect); S.B. 202,

2023 WL 5334582, at *2, 9, 11 (finding date of birth requirement violates materiality

provision notwithstanding “opportunity to cure the defect”). 10

       C.     A handwritten signature on an absentee ballot application is not
              material in determining a voter’s qualifications.

       After arguing that the materiality provision is inapplicable because absentee

ballot applications are not used to determine a voter’s qualifications, ECF No. 186

at 20, Defendants insist that handwritten signatures on absentee ballot applications

absolutely are material in determining eligibility. Id. at 21. This confusion shows

how far Defendants must strain their arguments to evade the statute’s plain language.

       Defendants also entirely fail to explain how the pen and ink rule is used “in

determining whether [an] individual is qualified” to vote. 52 U.S.C.



10
  Beyond Ms. Stambler and Dr. Trapp, the record identifies multiple Georgia voters
whose absentee ballot applications were rejected because of the pen and ink rule and
who ultimately did not vote in the corresponding election. SUMF ¶¶ 89–90; ECF
No. 159-19 at 6; ECF No. 159-20 at 15–16. Given the lack of uniformity in data
recording across counties, Plaintiffs’ experts studied only a few counties. PRDSMF
¶ 204; Mayer Dep. at 65:25–66:7, ECF No. 168; ECF No. 192-22 at 1–3.
Accordingly, the figures reported by Plaintiffs’ experts “almost certainly”
undercount the number of impacted voters statewide. PRDSMF ¶ 204; ECF No. 192-
22 at 1–3.
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§ 10101(a)(2)(B). The key phrase—“in determining”—refers to an active process,

and it “addresses whether the error or omission is used to ascertain or decide the

voter’s qualifications.” Pa. NAACP, 97 F.4th at 153 (Shwartz, J., dissenting); see

also id. (explaining that “‘in’ means ‘used as a function word to indicate means or

instrumentality’” (citation omitted)). It is not enough for a requirement to have

tangential relevance to a voter’s eligibility. Under the provision’s plain text, required

information must “actually impact[] an election official’s determination of a

person’s eligibility to vote.” Mi Familia Vota v. Fontes, No. CV-22-00509-PHX-

SRB, 2024 WL 862406, at *37 (D. Ariz. Feb. 29, 2024) (cleaned up).

      Here, the undisputed evidence confirms election officials do not use

handwritten signatures in any way. Defendants concede that “the signature is not

matched against the voter’s signature on file,” ECF No. 190 at 21, and thus is not

used to verify identity. See also SUMF ¶ 35; Brittain Dep. at 40:25–41:5; Williams

Dep. at 73:20–75:19; Smith Dep. 40:19–41:1, 41:14–42:5, 70:16–71:9. Just last

year, in granting a preliminary injunction, this Court held that the state’s birthdate

requirement on absentee ballots likely violated the materiality provision because

defendants admitted that the birthdate information was “not used to determine

whether a voter is qualified to vote,” even though it was allegedly used to verify the

voter’s identity. S.B. 202, 2023 WL 5334582, at *8. Surely, then, a requirement that

is not even used for the bare purpose of verifying identity cannot pass muster.

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      The out-of-circuit and non-binding cases on which Defendants rely do not

rehabilitate their argument. Defendants urge this Court to adopt Callanen’s and

Byrd’s conclusions, but those cases did not create a per se rule about the materiality

of handwritten signatures. Rather, they considered the “totality of the

circumstances,” including the salient fact that (in both cases) the signature

requirement applied to voter registration forms and was used to affirm voters’

qualifications. Callanen, 89 F.4th at 489; see also Vote.org v. Byrd, No. 4:23-cv-

111-AW-MAF, 2023 WL 7169095, at *6 (N.D. Fla. Oct. 30, 2023). Here, the record

is clear that the pen and ink rule on absentee ballot applications is not used to

determine voter eligibility.11 Callanen and Byrd thus deemed the handwritten

signatures material under very different circumstances.

      Intervenors’ reliance on Justice Alito’s dissent in Ritter v. Migliori is likewise

misplaced. ECF No. 186 at 24–25. That dissent—which garnered only three Justices’

support—considered (in the abstract) whether an absentee ballot with an undated

declaration on its outer envelope should be counted, but it says nothing analogous to

the signature requirements on absentee ballot applications at issue here. See Ritter

v. Migliori, 142 S. Ct. 1824, 1826 (2022). Justice Alito himself acknowledged that



11
  Georgia does not even require handwritten signatures on voter registration forms.
See, e.g., O.C.G.A. § 21-2-221.2 (providing procedure for electronic voter
registration). Nor did it require such signatures on absentee ballot application forms
before 2021.
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his opinion offered mere “thoughts” on the interpretation of the materiality provision

and he “d[id] not rule out the possibility that further briefing and argument might

convince [him] that [his] current view is unfounded.” Id. at 1824.

      In a final attempt to dodge the materiality provision’s plain text, Defendants

rely on the state’s interest in preserving the pen and ink rule, see ECF No. 186 at 21,

23; ECF No. 190 at 19, 23–24, erroneously invoking the legal standard for voting

challenges under the First and Fourteenth Amendments. See Anderson v. Celebrezze,

460 U.S. 780, 789 (1983); Burdick v. Takushi, 504 U.S. 428, 434 (1992). But this is

not a constitutional challenge. And a state’s interests in enforcing a challenged law

are “entirely irrelevant” to a materiality provision claim. LUPE, 2023 WL 8263348,

at *8 (“[T]he Materiality Provision is not a burden-interest balancing statute.

Materiality Provision violations are prohibited no matter their policy aim.”).

      In any event, Defendants fail to offer any meaningful support for their

assertion that the pen and ink rule helps deter or detect voter fraud. State Defendants’

proffered expert had never assessed or studied the reliability, effectiveness,

materiality, or purpose of a handwritten or pen and ink signature before he was

retained in this case. See Srivastava Dep. 200:5–201:2, ECF No. 179. In support of

his opinion that “signing a physical document creates a psychological effect that

increases voter honesty,” ECF No. 190 at 21, Dr. Srivastava cited just three studies,

all of which are inapt. The first study involved students being tested in a low-stakes

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setting; the study’s author noted that results might change in settings with higher

moral or social stakes. PRDSMF ¶ 21; Srivastava Dep. at 176:24–177:20. The

second study was a stripped down “replication” of the first, in which the authors

stated that further research was needed to determine whether their findings applied

in a “government” setting. PRDSMF ¶ 21; Srivastava Dep. at 183:17–185:16. The

third study considered only the recipient’s perception of the signature, not the

honesty of the person signing. And Dr. Srivastava would only state that the studies

were peer reviewed, but not that they were “generally accepted within the field.”

PRDSMF ¶¶ 32–35; Srivastava Dep. at 187:14–25.

      Moreover, by his own admission, Dr. Srivastava is not an expert in “fraud

detection,” and so his testimony on that subject is not admissible. Fed. R. Evid. 702;

PRDSMF ¶¶ 21, 27; Srivastava Dep. 111:24–112:6. Even if it were, Dr. Srivastava

testified that detecting fraud as an application was processed would require

comparing the application signature with one in the voter’s records—the very

process the legislature abolished and that counties confirmed no longer takes place.

Id. at 111:16–22, 112:3–15.

                                  CONCLUSION

      For these reasons, the Court should grant Plaintiffs’ Motion for Summary

Judgment.




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Dated: May 2, 2024                      Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Plaintiffs’ Reply in Support of their

Motion for Summary Judgment has been prepared in accordance with the font

type and margin requirements of LR 5.1, N.D. Ga., using font type of Times New

Roman and a point size of 14.



  Dated: May 2, 2024                       /s/ Uzoma N. Nkwonta
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this date caused to be electronically filed a

copy of the foregoing Plaintiffs’ Reply in Support of their Motion for Summary

Judgment with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to counsel of record.



  Dated: May 2, 2024                          /s/ Uzoma N. Nkwonta
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